           Case 1:11-cr-00068-DCN Document 327 Filed 12/17/12 Page 1 of 6




                            UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO



 UNITED STATES OF AMERICA,                          Case No: 11-cr-68-EJL

                        Plaintiff,                  MEMORANDUM DECISION AND
     v.                                             ORDER RE MOTION FOR
                                                    RELIEF FROM MISJOINDER
 OSCAR GARCIA, et al.,                              AND PREJUDICIAL JOINDER

                        Defendants.


                                      INTRODUCTION

          The Court has before it defendant Oscar Garcia’s Motion for Relief from

Misjoinder and Prejudicial Joinder (Dkt. 226). The Court has determined oral argument

would not assist the decision-making process and will decide the motion without a

hearing. For the reasons explained below, the Court will deem the motion moot, in part,

and deny it without prejudice, in part.

                                          ANALYSIS

1.        Issues related to Juan Gonzalez and Alfredo Castro

          Two issues raised in this motion are moot. First, Garcia argued that his case was




MEMORANDUM DECISION AND ORDER - 1
        Case 1:11-cr-00068-DCN Document 327 Filed 12/17/12 Page 2 of 6




misjoined with a count applicable to co-defendant Juan Gonzalez. Gonzalez has since

pled guilty and will not be tried. Second, Garcia’s argument that he cannot be fairly tried

with co-defendant Alfredo Castro is moot because Castro has pled guilty as well. Of the

eleven named defendants, only two – Garcia and Juan Jimenez – will be tried.

2.     Bruton Issues

       Garcia argues he will be unfairly prejudiced if he is jointly tried with co-defendant

Jimenez.

       Federal Rule of Criminal Procedure 14 provides that “[i]f the joinder of offenses

or defendants . . . appears to prejudice a defendant,” then “the court may . . . sever the

defendants’ trials, or provide any other relief that justice requires.” Severance is

appropriate under Rule 14 “only if there is a serious risk that a joint trial would

compromise a specific trial right of one of the defendants . . . .” Zafiro v. United States,

506 U.S. 534, 539 (1993). Garcia bears the burden of justifying severance, meaning he

must show that a joint trial would create such a “clear,” “manifest” or “undue prejudice”

that one of his substantive rights would be violated to the point where he would be denied

a fair trial. United States v. Vasquez-Velasco, 15 F.3d 833, 846 (9th Cir. 1994).

       Garcia has not identified any specific substantive right that will be compromised

by a joint trial. Instead, he points only to the possibility of a Bruton problem. See

generally Bruton v. United States, 391 U.S. 123 (1968). A Bruton problem arises when

multiple defendants are joined for trial and one of the defendants makes an out-of-court

confession or other statement that implicates a co-defendant. The statement of the



MEMORANDUM DECISION AND ORDER - 2
        Case 1:11-cr-00068-DCN Document 327 Filed 12/17/12 Page 3 of 6




declarant co-defendant, when offered against him by the government, is admissible as

non-hearsay, see Fed. R. Evid. 802(d)(2), but is generally inadmissible hearsay as against

the non-declarant co-defendant. In a joint trial, the jury will hear the statement of one

defendant pointing the finger at another defendant, but if that defendant (the speaker)

does not take the stand, then the other co-defendant does not have an opportunity to

confront and cross-examine the speaker. Until Bruton was decided, courts handled this

problem by instructing the jury to consider the statement against the declarant only, and

not the implicated co-defendant. But Bruton declared that this practice placed an

unrealistic burden on jurors. 391 U.S. at 128-29. Bruton held that it violates the Sixth

Amendment for an out-of-court statement by one defendant that implicates another

defendant to be introduced in a joint trial where the speaker does not take the stand and

subject himself to cross examination. Id. at 128-29, 136.

       But even when there are Bruton problems, severance is not automatic. The Bruton

Court spoke of “alternative ways” of using a statement to prove the confessor’s guilt

without infringing the nonconfessor’s confrontation rights. Id. at 133-34. For example,

“[t]he Supreme Court has upheld the use of redactions to solve the Bruton problem,

although the validity of redaction will depend a great deal on the details.” See 1AWright

et al., Federal Practice & Procedure § 224 (4th ed. 2012).

       The key problem with Garcia’s Bruton motion is that he does not point to any

specific out-of-court statements Jimenez made that implicate him and thus would create a

potential Bruton problem. Instead, he says only that “[i]t is anticipated that the



MEMORANDUM DECISION AND ORDER - 3
        Case 1:11-cr-00068-DCN Document 327 Filed 12/17/12 Page 4 of 6




government at trial may offer into evidence out of court statements of one or more of Mr.

Garcia’s co-defendants that could implicate Mr. Garcia . . . .” Mot. Memo., Dkt. 226-1, at

13. The government, for its part, says it plans to offer statements that co-defendants

made, but it does not offer any specifics either.

       The result is that the Court cannot evaluate whether there is a Bruton problem or,

if so, whether it could be resolved with redactions. Nor can the Court evaluate the

government’s argument that any co-defendant statement implicating Garcia would be

admissible under the co-conspirator exception to the hearsay rule, and, therefore, would

not create a Bruton problem. See Gov’t Response, Dkt. 262, at 12 (citing Fed. R. Evid.

801(d)(2)(E), United States v. Martinez, 657 F.3d 811, 820 (9th Cir. 2011), and United

States v. Larson, 460 F.3d 1200, 1213 n.12 (9th Cir. 2006)).

       Garcia suggests that the government be compelled to reveal the out-of-court

statements it intends to use at trial so that the Court can conduct “an appropriate analysis

of Bruton.” The Court does have this prerogative: Federal Rule of Criminal Procedure

14(b) provides: “Before ruling on a defendant's motion to sever, the court may order an

attorney for the government to deliver to the court for in camera inspection any

defendant's statement that the government intends to use as evidence.”

       But, as discussed above, Garcia has the burden on a motion to sever. The Court

believes he must do something more than just raise the specter of a Bruton problem –

without pointing to any specifics whatever – and then ask the government to identify co-

defendants’ out-of-court statements that (a) incriminate Garcia and (b) will be offered at



MEMORANDUM DECISION AND ORDER - 4
          Case 1:11-cr-00068-DCN Document 327 Filed 12/17/12 Page 5 of 6




trial.

         Granted, this is a complex case. Garcia represents that “[t]housands of pages of

written discovery exist in this case together with voluminous audio and video

recordings.” Reply, Dkt. 273, at 5. He thus indicates that he “cannot possibly predict

which of the statements of multiple co-defendants, buried among this universe of material

produced in discovery, the government will offer at trial.” Id. But since Garcia made

this representation, the trial has shrunk to just two co-defendants who will be jointly tried

– Garcia and Jimenez. So it would presumably be easier to sift through all the discovery

materials looking for evidence that Jimenez made out-of-court statements implicating

Garcia.

         Under these circumstances, the Court will deny Garcia’s Bruton motion without

prejudice. If Garcia identifies more specific statements between now and trial, he may

renew his motion and the Court will evaluate such statements for Bruton issues.

Otherwise, the Court will address Bruton issues as they arise at trial. During the trial, the

Court will expect advance notice if the government intends to offer any evidence that

could potentially create a Bruton problem. At that point, the Court may exercise its

prerogative under Rule 14(b) to examine such statements in camera before such evidence

to be admitted.




MEMORANDUM DECISION AND ORDER - 5
       Case 1:11-cr-00068-DCN Document 327 Filed 12/17/12 Page 6 of 6




                                    ORDER

     IT IS ORDERED THAT Defendant’s Motion for Relief from Misjoinder and

Prejudicial Joinder (Dkt. 226) is MOOT, in part, and DENIED WITHOUT

PREJUDICE, in part.




                                         DATED: December 17, 2012


                                         _________________________
                                         Edward J. Lodge
                                         United States District Judge




MEMORANDUM DECISION AND ORDER - 6
